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   17
                             UNITED STATES DISTRICT COURT
   18
                            CENTRAL DISTRICT OF CALIFORNIA
   19
        STEPHANIE CLIFFORD a.k.a.                     Case No. 2:18-CV-02217
   20   STORMY DANIELS a.k.a. PEGGY
        PETERSON, an individual,                      JOINT RULE 26(f) REPORT
   21
                      Plaintiff,                      Scheduling Conference
   22
                     v.                               Date: September 10, 2018
   23                                                 Time: 9:00 a.m.
        DONALD J. TRUMP a.k.a. DAVID
   24   DENNISON, an individual,
        ESSENTIAL CONSULTANTS, LLC, a                 Assigned to the Hon. S. James Otero
   25   Delaware Limited Liability Company,           Action Filed: March 6, 2018
        MICHAEL COHEN, an individual, and
   26   DOES 1 through 10, inclusive,
   27                 Defendants.
   28
                                               1
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    1        Plaintiff Stephanie Clifford (“Plaintiff”) and Defendants Donald J. Trump
    2 (“Mr. Trump”), Essential Consultants, LLC (“EC”), and Michael Cohen (“Mr.
    3 Cohen”) (collectively, “Defendants”) (together with Plaintiff, the “Parties”) hereby
    4 submit the following Joint Rule 26(f) Report.
    5
    6 I.     STATEMENT OF THE CASE
    7        A.     Plaintiff’s Statement
    8        This case centers primarily on a settlement and non-disclosure agreement
    9 which violated federal campaign finance laws through the payment of hush money to
   10 Plaintiff to cover up an extramarital affair and conceal its existence from the
   11 American people in order to influence the 2016 election for President of the United
   12 States. Plaintiff seeks a declaratory judgment confirming that the agreement, along
   13 with the arbitration clause contained therein, had no lawful object or purpose (Cal.
   14 Civ. Code § 1550), violates public policy, and indeed was never even formed
   15 between Plaintiff and Mr. Trump. Plaintiff also seeks attorneys’ fees incurred in
   16 connection with prosecuting her declaratory judgment action pursuant to paragraph
   17 8.2 of the agreement. In addition, Plaintiff asserts a claim for defamation against Mr.
   18 Cohen.
   19        The agreement at issue is entitled “Confidential Settlement Agreement and
   20 Mutual Release; Assignment of Copyright and Non-Disparagment [sic] Agreement”
   21 (hereafter, the “Settlement Agreement” or “Agreement”). As to the first cause of
   22 action, and as detailed in her First Amended Complaint, Plaintiff contends that (1) the
   23 Settlement Agreement was never formed, and (2) there was no lawful object or
   24 purpose for the Settlement Agreement as a whole, or the confidential arbitration
   25 clause in particular. As to the latter basis for invalidating the Agreement, Plaintiff
   26 asserts, among other things, that the Agreement violated federal campaign finance
   27 laws. Consequently, Plaintiff contends she is not bound by any of the terms and
   28 conditions of the Settlement Agreement.         This includes the provision of the
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    1 Agreement providing for arbitration.
    2        The second cause of action for defamation set forth in the Amended Complaint
    3 is asserted against Mr. Cohen.       Mr. Cohen defamed Plaintiff when he made a
    4 statement on February 13, 2018 insinuating Plaintiff was lying regarding whether she
    5 had an affair with Mr. Trump. Accordingly, Plaintiff seeks damages against Mr.
    6 Cohen.
    7        This action is presently stayed based on Mr. Cohen’s assertion that proceeding
    8 with discovery and a resolution on the merits would force him to invoke his Fifth
    9 Amendment right to avoid self-incrimination. Prior to the imposition of the stay,
   10 EC’s Motion to Compel Arbitration, Plaintiff’s Motion for Expedited Discovery and
   11 Federal Arbitration Act (FAA) Jury Trial, and Mr. Cohen’s Special Motion to Strike
   12 under the California Anti-SLAPP Statute were pending before the Court.                As
   13 discussed herein, Plaintiff’s position is that that stay should now be lifted because
   14 Mr. Cohen pled guilty to eight criminal counts, including one criminal count wherein
   15 Mr. Cohen admitted committing a campaign finance violation relating to the
   16 $130,000 payment to Plaintiff in which he also implicated Mr. Trump as a co-
   17 conspirator.
   18        The lifting of the stay should not be delayed until Mr. Cohen’s sentencing in
   19 December.        Plaintiff will wait to depose Mr. Cohen until after his sentencing.
   20 Nothing should prevent the Parties from engaging in all other litigation activities to
   21 move this case along, including the deposition of Mr. Trump (who does not assert
   22 Fifth Amendment rights and indeed insists he committed no crime), the exchange of
   23 relevant documents, and the scheduling of case deadlines and a jury trial on
   24 arbitrability.    Defendants are again reminded that a stay in a civil case is not a
   25 constitutional right, and the mere fact that a defendant in a civil case is in possession
   26 of Fifth Amendment rights does not grant him or her the privilege of an automatic
   27 stay. Keating v. Office of Thrift Supervision, 45 F.3d 322, 324 (9th Cir. 1995) (“The
   28 Constitution does not ordinarily require a stay of civil proceedings pending the
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    1 outcome of criminal proceedings.”); see also id. at 326 (“A defendant has no absolute
    2 right not to be forced to choose between testifying in a civil matter and asserting his
    3 Fifth Amendment privilege.”). Here, Mr. Cohen has already testified under oath in
    4 federal court before the Southern District of New York in which he admitted to his
    5 crimes, including the campaign finance crime that intersects with the facts of this
    6 case. He will not be asked to testify again until after his sentencing. There is thus no
    7 prejudice to Defendants, or any other substantive basis, to continue the stay. The
    8 Court should thus permit expedited discovery, conduct an expedited trial under
    9 section 4 of the FAA to decide arbitrability, and proceed to a judgment on the merits.
   10        B.      Defendants’ Statement
   11        Defendants dispute Plaintiff’s characterization of this action and her
   12 allegations.
   13        Plaintiff’s First Amended Complaint asserts two causes of action: (1) a claim
   14 for declaratory relief to invalidate a signed written agreement entitled “Confidential
   15 Agreement and Mutual Release; Assignment of Copyright and Non-Disparagement
   16 Agreement” (the “Settlement Agreement”), dated October 28, 2016, by and between
   17 EC and Plaintiff, and for which Plaintiff was paid $130,000.00 pursuant to its terms;
   18 and (2) a claim for defamation against Mr. Cohen, arising out of alleged statements
   19 by Mr. Cohen relating to Plaintiff’s “claims about her relationship with Mr. Trump.”
   20        As detailed more fully in EC’s currently-pending Motion to Compel
   21 Arbitration (the “Arbitration Motion”), in which Mr. Trump has joined, the
   22 Settlement Agreement constitutes a valid agreement to arbitrate.         [Dkt. No. 20,
   23 Arbitration Motion; Dkt. No. 21, Joinder.] By Plaintiff’s own admission, she signed
   24 the Settlement Agreement, accepted the consideration required of EC thereunder, and
   25 did not raise any objection to its enforceability until approximately sixteen months
   26 thereafter.
   27        As detailed more fully in Mr. Cohen’s pending Anti-SLAPP Motion (the
   28 “Anti-SLAPP Motion”), Plaintiff’s claim for defamation against Mr. Cohen is
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    1 without merit and should be dismissed because, among other things, the alleged
    2 statements are not defamatory as a matter of law, and the claim arises out of actions
    3 that were taken in furtherance of Mr. Cohen’s First Amendment rights and relates to
    4 matters of public interest. [Dkt No. 31, Anti-SLAPP Motion.]
    5         With regard to Rule 26, it is premature to set a schedule in this case for the
    6 following reasons:
    7         First, as set forth in detail in Section 1.C. immediately below, the stay of this
    8 action should remain in place until Mr. Cohen has been sentenced in the Southern
    9 District of New York criminal case against him (18-cr-00602-WHP) (the “SDNY
   10 Case”).
   11         Second, there are currently three pending motions before the Court: the
   12 Arbitration Motion [Dkt. No. 20], Plaintiff’s Motion for Expedited Jury Trial [Dkt.
   13 No. 29], and the Anti-SLAPP Motion [Dkt. No. 31] (collectively, the “Pending
   14 Motions”), that will determine key threshold issues in this action, including whether
   15 Plaintiff’s claims are to be resolved in arbitration rather than in this Court.
   16         C.    Mr. Cohen’s Statement Regarding the Stay
   17         Mr. Cohen’s recent plea in the SDNY Case did not constitute a waiver of his
   18 Fifth Amendment privilege. See Mitchell v. United States, 526 U.S. 314, 325 (1999)
   19 (“We reject the position that either petitioner’s guilty plea or her statements at the
   20 plea colloquy functioned as a waiver of her right to remain silent at
   21 sentencing…Where a sentence has yet to be imposed,…this Court has already
   22 rejected the proposition that incrimination is complete once guilt has been
   23 adjudicated[.]”) (internal quotations omitted).         Moreover, Mr. Cohen’s Fifth
   24 Amendment rights will be adversely impacted if the stay is lifted prior to his
   25 sentencing. “Where the sentence has not yet been imposed a defendant may have a
   26 legitimate fear of adverse consequences from further testimony.” Id., at 326. “To
   27 maintain that sentencing proceedings are not part of ‘any criminal case’ is contrary to
   28 the law and to common sense.” Id., at 327. Therefore, the Court should extend the
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    1 stay until Mr. Cohen has been sentenced in the SDNY Case. His sentencing is
    2 currently scheduled for December 12, 2018. [See Docket for SDNY Case.]
    3        There can be no dispute that there is a substantial overlap between this case
    4 and the SDNY Case, and that both cases are directly related. Indeed, Count 8 in the
    5 indictment against Mr. Cohen, which Mr. Cohen has pled guilty to, involves the
    6 $130,000 payment made to Plaintiff that is at issue in this action. [Dkt. No. 2 in
    7 SDNY Case, Information, ¶¶ 34, 43-44.] This Court previously found that a stay was
    8 warranted merely because of the investigation into Mr. Cohen, and now that Mr.
    9 Cohen has been indicted and pled to charges directly related to this case, it is clear
   10 that the testimony or discovery he may provide in this case may be used against him
   11 at sentencing.
   12        Accordingly, it is necessary for the stay to be extended until Mr. Cohen has
   13 been sentenced in the SDNY Case to protect his Fifth Amendment rights. See Square
   14 1 Bank v. Lo, 2014 WL 7206874, at *2 (N.D. Cal. Dec. 17, 2014) (granting stay until
   15 defendant’s sentencing complete because “it is possible that any information that
   16 [defendant] produces to fulfill his civil discovery obligations…may be used against
   17 him in his criminal case in the context of sentencing” and rejecting plaintiff’s
   18 argument that defendant’s plea waived Fifth Amendment privilege because “[i]t is
   19 well established that an individual's Fifth Amendment privilege against self-
   20 incrimination does not expire upon entry of a guilty plea or guilty verdict, but rather
   21 extends through sentencing.”); EchoStar Satellite, L.L.C. v. Viewtech, Inc., 2010 WL
   22 11509180, at *1-2 (S.D. Cal. Jan. 19, 2010) (granting stay pending defendant’s
   23 sentencing and holding defendant’s Fifth Amendment rights remain implicated
   24 despite guilty plea in criminal case); City of Los Angeles v. San Pedro Boat Works,
   25 2004 WL 7325057 at *4 (C.D. Cal. June 23, 2004) (granting stay where individual
   26 previously pled guilty in related criminal case and was awaiting sentencing);
   27 Bridgeport Harbour Place I, LLC v. Ganim, 269 F. Supp. 2d 6, 9 (D. Conn. 2002)
   28 (granting stay because “[a]llowing the civil case to proceed before the criminal case is
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    1 resolved will force the defendants, particularly those who have pleaded guilty to the
    2 criminal charges, to make a ‘Hobson's Choice.’ If the defendants zealously litigate
    3 the civil case and provide discovery, the government may use the information to the
    4 defendants’ detriment at sentencing.”); Craft v. City of Chicago, 2006 WL 3359424,
    5 at *1 (N.D. Ill. Nov. 16, 2006) (denying plaintiff’s motion to lift stay as to defendants
    6 that pled guilty in related criminal case because “permitting discovery in this civil
    7 matter [prior to judgment and sentencing] would improperly compromise [defendants’
    8 Fifth Amendment] right.”); Taj Constr., Inc. v. Architectural Prod. Co., 2008 WL
    9 11334037, at *2 (W.D. Tex. Nov. 21, 2008) (granting stay where defendant pled
   10 guilty in related criminal case because defendant has yet be to sentenced); Frierson v.
   11 City of Terrell, 2003 WL 21355969, at *3 (N.D. Tex. June 6, 2003) (granting stay
   12 which will remain in effect through sentencing in related criminal case).
   13        This Court has already considered, and rejected, the arguments contained in
   14 Sections I.A. and III.A. herein. As this Court held: “…as the alleged mastermind
   15 behind the Agreement and the person with the most direct knowledge of the facts
   16 and circumstances surrounding its formation, [Mr. Cohen’s] testimony would be
   17 indispensable to the disposition of this action.” [Stay Order, p. 7, ECF No. 53.]
   18 (Emphasis added.) For the reasons stated in this Section I.C., the Stay Order [ECF
   19 No. 53], Defendants’ Joint Ex Parte Application for Stay and supporting papers [ECF
   20 Nos. 38, 40, 50], Defendants’ Opposition to Plaintiff’s Motion for Reconsideration of
   21 the Stay Order [ECF No. 57], and the Court’s Order denying the Motion for
   22 Reconsideration [ECF No. 63], there remains good cause for this matter to be stayed
   23 until Mr. Cohen is sentenced.
   24
   25 II.    SUBJECT MATTER JURISDICTION
   26        This Court has jurisdiction over the action pursuant to the parties’ diversity of
   27 citizenship and 28 U.S.C. § 1332.
   28 //
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    1 III.   UNUSUAL LEGAL OR PROCEDURAL ISSUES
    2        A.     Plaintiff’s Statement
    3        The case is presently stayed until September 14, 2018. [Dkt No. 74 at 7.] As
    4 noted above, the following three motions are currently pending before the Court: (1)
    5 EC’s Motion to Compel Arbitration, (2) Plaintiff’s Motion for Expedited Discovery
    6 and Federal Arbitration Act (FAA) Jury Trial, and (3) Mr. Cohen’s Special Motion to
    7 Strike Under the California Anti-SLAPP Statute. The factual and legal basis for a
    8 stay no longer exist because of Mr. Cohen’s guilty plea. Therefore, as explained
    9 below, Plaintiff believes the most streamlined and efficient approach to this case is to
   10 lift the stay, permit Plaintiff to conduct discovery as requested in her motion for the
   11 FAA jury trial and arbitration dispute, and to set the FAA trial for January 22, 2019.
   12 The Court should also set a trial date and associated discovery and pretrial deadlines
   13 in the event the Court concludes the dispute should not be sent to arbitration.
   14        As an initial matter, and as noted above, this action is presently stayed. That
   15 stay should now be lifted.      The Parties have recently submitted a Joint Report
   16 regarding whether the stay should continue.       [Dkt. No. 67.] However, Plaintiff
   17 contends there is no credible dispute the stay should be lifted in view of the fact that
   18 Mr. Cohen has pled guilty to various federal crimes, including campaign finance law
   19 violations, which he admitted were committed at the behest of Mr. Trump and likely
   20 directly connected to the Settlement Agreement at issue in this action. [See Ex. A
   21 (Plea Agreement) at 1-2; Ex. B (USA v. Cohen, No. 1:18-cr-00602-WHP (S.D.N.Y),
   22 Information) at 14-16, 19.] In light of his guilty plea, Mr. Cohen no longer faces a
   23 possibility of criminal prosecution on these matters.           More specifically, in
   24 consideration of his guilty plea, Mr. Cohen will not be prosecuted criminally for,
   25 among other offenses, “any crimes relating to . . . making an excessive campaign
   26 contribution, on or about October 27, 2016, as charged in Count Eight”—referring to
   27 the $130,000 payment. [Ex. A at 2; Ex. B at 19.] Further, “the Government will
   28 move to dismiss any open Count(s) against” Mr. Cohen. [Id.]
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    1        Consequently, Mr. Cohen no longer faces a risk of self-incrimination sufficient
    2 to permit him to invoke the Fifth Amendment protections against self-incrimination.
    3 See Earp v. Cullen, 623 F.3d 1065, 1070 (9th Cir. 2010) (“A witness justifiably
    4 claims the privilege if he is ‘confronted by substantial and real, and not merely
    5 trifling or imaginary, hazards of incrimination.’”); In re Grand Jury Proceedings, 13
    6 F.3d 1293, 1295 (9th Cir. 1994) (in order to properly “claim the privilege . . . a
    7 defendant must be faced with substantial hazards of self-incrimination that are real
    8 and appreciable and not merely imaginary and unsubstantial.”); Edwards v. C. I. R.,
    9 680 F.2d 1268, 1270 (9th Cir. 1982) (“To invoke the fifth amendment privilege, the
   10 taxpayer must be faced with substantial hazards of self-incrimination that are real and
   11 appreciable, and must have reasonable cause to apprehend such danger.”). Indeed,
   12 Mr. Cohen’s own attorney stated on August 21 that previously, Mr. Cohen “has been
   13 unable to speak, because of this cloud after the massive search warrant was
   14 executed,” but that “now, he is—stepped up to the line and he can now speak
   15 again.”           <http://transcripts.cnn.com/TRANSCRIPTS/1808/21/cnnt.02.html>.
   16 Although Plaintiff has of course maintained that the stay should be lifted regardless
   17 of any criminal investigation into Mr. Cohen, the guilty plea itself conclusively
   18 negates any further need for a stay in this action. The stay should therefore be
   19 immediately lifted.
   20        Defendants contend the stay should remain in place until Mr. Cohen’s
   21 sentencing, which is scheduled to occur on December 12, 2018. However, there is no
   22 need to keep the stay intact until that date. As an initial matter, Plaintiff will not
   23 depose Mr. Cohen until after his sentencing.       According to Plaintiff’s proposed
   24 schedule (see section IV below), the discovery cutoff for the FAA jury trial should be
   25 set for December 19. Mr. Cohen’s deposition can be set during the week between his
   26 sentencing and the proposed cutoff. Moreover, now that Mr. Cohen has admitted to
   27 his crimes under oath before the district judge in the Southern District of New York,
   28 there is no substantive justification for putting this case on hold.     A myriad of
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     1 litigation activities may occur in this case that would not disturb what remains of Mr.
     2 Cohen’s Fifth Amendment rights. Plaintiff may depose Mr. Trump. Plaintiff may
     3 depose other witnesses. The Parties can engage in document discovery, including
     4 discovery from third parties.     The Court may resolve all pending motions and
     5 schedule important dates, including the date for the FAA section 4 jury trial. The
     6 Parties can make all of this progress to bring this matter closer to resolution, and it
     7 need not wait Mr. Cohen’s sentencing. Indeed, although Defendants equate the mere
     8 existence of Fifth Amendment rights with the legal justification for a stay, that is a
     9 complete misapprehension of the law in this Circuit. According to the Ninth Circuit,
    10 “[a] defendant has no absolute right not to be forced to choose between testifying in a
    11 civil matter and asserting his Fifth Amendment privilege.” Keating, 45 F.3d at 326.
    12 “Not only is it permissible to conduct a civil proceeding at the same time as a related
    13 criminal proceeding, even if that necessitates invocation of the Fifth Amendment
    14 privilege, but it is even permissible for the trier of fact to draw adverse inferences
    15 from the invocation of the Fifth Amendment in a civil proceeding.” Id. But here, as
    16 noted, Plaintiff is not even demanding that Mr. Cohen risk giving up any Fifth
    17 Amendment rights; Plaintiff will depose him after he is sentenced.
    18        Once the stay is lifted, there are three (3) outstanding motions that will have
    19 significant impact on how this case proceeds both in the short term and the long term.
    20 First, Mr. Cohen has filed a Motion to Compel Arbitration. [Dkt. No. 20.] Second,
    21 Plaintiff has opposed that Motion [Dkt. No. 30] and filed, pursuant to the Federal
    22 Arbitration Act section 4, a Motion for Expedited Jury Trial on the issue of whether
    23 an agreement to arbitrate any portion of this dispute exists.      [Dkt. No. 29.] In
    24 connection with the Motion for Expedited Jury Trial, Plaintiff has sought certain
    25 targeted discovery, including: (1) a deposition of defendant Donald J. Trump; (2) a
    26 deposition of defendant Michael Cohen; and (3) no more than ten (10) targeted
    27 requests for production of documents directed to Mr. Trump and Mr. Cohen on
    28 various topics relating to the Settlement Agreement. [Id.] Third, and finally, Mr.
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     1 Cohen has filed a Special Motion to Strike the defamation claim asserted against him.
     2 [Dkt. No. 31.]
     3        Briefing on these three motions is not complete and was stayed by the Court as
     4 a result of the general stay entered. Plaintiff requests that the stay be lifted and that
     5 the Court enter an order directing a briefing and hearing schedule as follows:
     6        1.     Plaintiff’s Renewed Motion for Expedited Discovery and FAA Jury
     7 Trial (Dkt No. 29-1).
     8 Last Day for Defendants to File Opposition to                September 17, 2018
     9 Plaintiff’s Motion for Expedited Discovery and FAA
    10 Jury Trial
    11 Last Day for Plaintiff to File Reply in Support of           September 21, 2018
    12 Motion for Expedited Discovery and FAA Jury Trial
    13 Hearing and Trial Setting                                    September 24, 2018 at
    14                                                              9:00 a.m.
    15
              2.     EC’s Motion to Compel Arbitration (Dkt No. 20-1)
    16
         Last Day for EC to File Reply in Support of Motion to September 17, 2018
    17
         Compel Arbitration
    18
         Hearing                                                    To Be Determined (if
    19
                                                                    necessary) at September
    20
                                                                    24, 2018 hearing
    21
    22        3.     Mr. Cohen’s Special Motion to Strike Pursuant to the California
    23 Anti-SLAPP Statute (Dkt No. 31)
    24 Last Day for Plaintiff to File Opposition to Mr. Cohen’s     October 1, 2018
    25 Special Motion to Strike Pursuant to the California
    26 Anti-SLAPP Statute
    27 Last Day for Mr. Cohen to File Reply in Support of           October 8, 2018
    28
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     1 Special Motion to Strike Pursuant to the California
     2 Anti-SLAPP Statute
     3 Hearing                                                       October 15, 2018
     4
     5         Plainly, the resolution of these motions will have a significant impact on the
     6 schedule in this action and how this action proceeds. It is Plaintiff’s position that a
     7 jury trial on the question of the existence of an arbitration agreement is necessary and
     8 that the Court should proceed first and foremost with a schedule for the jury trial on
     9 arbitrability. Plaintiff’s proposed schedule is set forth below in Section IV. Once that
    10 trial is completed, Plaintiff proposes that the Court set a schedule for a trial on the
    11 merits of the two causes of action: (1) declaratory relief; and (2) defamation. In the
    12 interim, Plaintiff does not believe it is necessary to set a detailed schedule for the
    13 resolution of the action on the merits and that scheduling the jury trial on arbitrability
    14 should take priority. Although Plaintiff believes it to be an unlikely result, plainly,
    15 should the Court rule that this action must be resolved through arbitration either
    16 before or after a jury trial on the existence of an arbitration agreement, that
    17 determination will moot the need for any scheduling of the trial on the declaratory
    18 relief or defamation claims.
    19         B.    Defendants’ Statement
    20         Plaintiff is incorrect regarding the stay.
    21         First, this Court has not ruled that the stay will end on September 14, 2018.
    22 The Court’s July 31, 2018 Order continued the stay for an additional 45 days and did
    23 not specify whether the stay would end after that 45-day period, or be extended again.
    24 [Dkt. No. 74, Order, p. 7.]
    25         Second, Plaintiff is incorrect that this action no longer implicates Mr. Cohen’s
    26 Fifth Amendment privilege on account of his plea in the SDNY Case. As detailed
    27 above, Mr. Cohen’s plea did not waive his Fifth Amendment privilege, and his rights
    28 will be adversely impacted if the stay is lifted prior to his sentencing in the SDNY
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     1 Case. See Mitchell v. United States, 526 U.S. 314, 325-27 (1999).
     2        Once the stay is lifted, Defendants propose the following briefing schedule for
     3 the Pending Motions:
     4        Plaintiff’s Renewed Motion for Expedited Discovery and FAA Jury Trial
     5 (Dkt No. 29-1).
     6 Last Day for Defendants to File Opposition to              Fourteen (14) days after
     7 Plaintiff’s Motion for Expedited Discovery and FAA         the stay is lifted
     8 Jury Trial
     9 Last Day for Plaintiff to File Reply in Support of         Seven (7) days after the
    10 Motion for Expedited Discovery and FAA Jury Trial          deadline for Opposition
    11 Hearing                                                    On a date to be determined
    12                                                            by the Court
    13
              2.    EC’s Motion to Compel Arbitration (Dkt No. 20-1)
    14
         Last Day for EC to File Reply in Support of Motion to Seven (7) days after the
    15
         Compel Arbitration                                       stay is lifted
    16
         Hearing                                                  On a date to be determined
    17
                                                                  by the Court
    18
    19        3.    Mr. Cohen’s Special Motion to Strike Pursuant to the California
    20 Anti-SLAPP Statute (Dkt No. 31)
    21 Last Day for Plaintiff to File Opposition to Mr. Cohen’s   Fourteen (14) days after
    22 Special Motion to Strike Pursuant to the California        the stay is lifted
    23 Anti-SLAPP Statute
    24 Last Day for Mr. Cohen to File Reply in Support of         Seven (7) days after the
    25 Special Motion to Strike Pursuant to the California        deadline for Opposition
    26 Anti-SLAPP Statute
    27
    28
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     1 Hearing                                                        On a date to be determined
     2                                                                by the Court
     3
     4 IV.     DISCOVERY CUT OFF, HEARING OF MOTIONS, FINAL PRETRIAL
     5         CONFERENCE
     6         A.     Plaintiff’s Position
     7         As explained above, Plaintiff believes the Court should prioritize the question
     8 of arbitrability, along with the discovery necessary to resolve arbitrability.
     9 Accordingly, Plaintiff proposes the following schedule for the jury trial under section
    10 4 of the Federal Arbitration Act (the “FAA Section 4 Jury Trial”):
    11 Fact Discovery Cutoff:                          December 19, 2018
    12 Pretrial Filings (Witness List, Exhibit         January 8, 2019
    13 List, and Proposed Jury Instructions):
    14 Final Status Conference:                        January 15, 2019
    15 FAA Section 4 Jury Trial:                       January 22, 2019
    16         If Plaintiff prevails and it is thus determined that Plaintiff’s claims are not
    17 arbitrable, the Court should set an immediate Scheduling Conference to impose a
    18 date for the trial on the merits, along with pretrial and discovery deadlines.
    19         If it is the Court’s preference to set trial, pretrial, and discovery dates relating
    20 to the merits of both claims at this time, Plaintiff requests that the trial date be set for
    21 June 18, 2019 (or on a date soon thereafter that is convenient to the Court’s
    22 schedule), and that all other deadlines be set relative to this trial date according to the
    23 Court’s standard and preferred schedule.
    24         B.     Defendants’ Position
    25         The schedule proposed by Plaintiff prematurely assumes that her Motion for
    26 Expedited Discovery will be granted. On the contrary, the Court can and should rule
    27 on the pending Arbitration Motion without any discovery and without a jury trial
    28 under the FAA. Thus, it is premature for the Court to set a schedule for an FAA
                                                 -14-
                                        JOINT RULE 26(f) REPORT
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     1 proceeding, including discovery and a jury trial, unless and until the Court has
     2 determined that such measures are necessary to determine the Arbitration Motion.
     3 Defendants reserve the right to propose a schedule for any such proceeding at a later
     4 date, if the Motion for Expedited Discovery is granted.
     5
     6 V.     STATUS OF DISCOVERY
     7        The action is presently stayed. Pursuant to that stay, no discovery has been
     8 conducted or completed at this time.
     9
    10 VI.    DISCOVERY PLAN
    11        1.     Whether discovery should be conducted in phases or otherwise
    12               ordered or limited:
    13               (a)   Plaintiff’s Position
    14        Plaintiff’s position is that at this time, discovery should proceed in two phases:
    15 a first phase in preparation for the FAA Section 4 Jury Trial and a second phase
    16 regarding the merits of the action. Accordingly, Plaintiff requests the following:
    17        First, discovery should commence immediately on the issue of the arbitrability
    18 of Plaintiff’s claims in preparation for the FAA Section 4 Jury Trial pursuant to the
    19 schedule set forth above. As requested in Plaintiff’s Motion for Expedited Jury Trial,
    20 in order to prepare for the FAA Section 4 jury trial, Plaintiff requests the following
    21 discovery on an expedited basis: (1) a deposition of Defendant Trump; (2) a
    22 deposition of Defendant Cohen; and (3) no more than ten (10) targeted requests for
    23 production of documents directed to Mr. Trump and Mr. Cohen on various topics
    24 relating to the Settlement Agreement. These requests are of course made without
    25 prejudice to seeking additional discovery on the merits, including further deposition
    26 testimony, from both Mr. Trump and Mr. Cohen after the resolution of the FAA
    27 Section 4 jury trial.
    28
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                                      JOINT RULE 26(f) REPORT
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     1        Second, after the resolution of the FAA Section 4 Jury Trial, Plaintiff requests
     2 that a schedule be set for discovery on the merits of the two causes of action at issue
     3 – namely, declaratory relief and defamation. In the interest of efficiency, Plaintiff
     4 proposes that discovery on the merits commence immediately after the resolution of
     5 the FAA Section 4 Jury Trial. Plaintiff further requests that the Court set a trial date
     6 for a trial on the merits on June 18, 2019, or on a date soon thereafter that is
     7 convenient for the Court. Any applicable pretrial and discovery deadlines should be
     8 calendared on the basis of the trial date set.
     9                (b)   Defendants’ Position
    10        The discovery phases proposed by Plaintiff prematurely assumes that her
    11 Motion for Expedited Discovery will be granted. For the reasons discussed herein,
    12 the Court should rule on the Motion for Expedited Discovery and/or Arbitration
    13 Motion prior to scheduling any of the above matters listed by Plaintiff. Accordingly,
    14 the issue of whether discovery should be conducted in phases is premature until the
    15 Motion for Expedited Discovery and/or Arbitration Motion have been determined.
    16 Defendants reserve the right to raise such issues at a later date, if any such discovery
    17 is ordered.
    18        2.      Changes to the timing, form, or requirement for disclosures under
    19                Rule 26(a):
    20                (a)   Plaintiff’s Position
    21        Plaintiff believes that the Parties should exchange initial disclosures on
    22 September 24, 2018. At this time, Plaintiff does not believe any changes should be
    23 made to the timing, form, or requirements for disclosures under Rule 26(a).
    24                (b)   Defendants’ Position
    25        For the reasons stated herein, it is premature for the Parties to exchange initial
    26 disclosures.    For example, and among other things, if the Arbitration Motion is
    27 granted, the arbitration will proceed pursuant to the applicable arbitration rules, not
    28 the Federal Rules of Civil Procedure. Defendants reserve the right to propose any
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                                       JOINT RULE 26(f) REPORT
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     1 changes to the timing, form, or requirement for disclosures under Rule 26(a) at a later
     2 date, including if the Arbitration Motion is denied or the Motion to Expedite
     3 Discovery is granted.
     4        3.     The subjects on which discovery may be needed:
     5               (a)   Plaintiff’s Position
     6        Plaintiff’s position is, as set forth herein, that discovery should proceed first on
     7 issues necessary to prepare for the FAA Section 4 Jury Trial. This will include all
     8 factual matters related to, or arising from, the Settlement Agreement and the
     9 $130,000 payment made pursuant thereto. Plaintiff proposes that merits discovery
    10 commence immediately after the resolution of the FAA Section 4 Jury Trial. Such
    11 discovery will involve a more expanded inquiry into the Settlement Agreement and
    12 $130,000 payment, along with all matters pertaining to Plaintiff’s defamation claim
    13 which will necessarily require discovery concerning the affair between Plaintiff and
    14 Mr. Trump, and Mr. Trump and Mr. Cohen’s knowledge of the affair, and the
    15 preparation and issuance of the defamatory statement at issue.
    16               (b)   Defendants’ Position
    17        For the reasons stated herein, Defendants believe it is premature to determine
    18 the subjects of discovery in this action. For example, and among other things, if the
    19 Arbitration Motion is granted, discovery will proceed before an arbitrator, pursuant to
    20 the applicable arbitration rules.
    21        4.     Any issues about disclosure, discovery, or preservation of
    22               electronically stored information:
    23               (a)   Plaintiff’s Position
    24        Now that the government’s investigation of crimes pertaining to the $130,000
    25 payment as it relates to Mr. Cohen is complete, Plaintiff requests that Mr. Cohen be
    26 required to turn over all materials seized by the government relating to this case,
    27 including any recordings of conversations Mr. Cohen had with any person regarding
    28 Plaintiff, along with e-mails, text messages, and bank records.
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                                       JOINT RULE 26(f) REPORT
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     1               (b)    Defendants’ Position
     2         For the reasons stated herein, Defendants believe it is premature to determine
     3 whether there will be any issues relating to disclosure or discovery. Defendants
     4 presume that all parties have complied with their obligations regarding the
     5 preservation of electronically stored information, and are not aware of any separate
     6 issues on that subject. Defendants reserve the right to raise any issues regarding
     7 discovery, disclosure or preservation at a later date.
     8         5.    Any issues about claims of privilege or of protection as trial-
     9               preparation materials:
    10               (a)    Plaintiff’s Position
    11         Plaintiff is not aware of any issues that need to be addressed by the Court
    12 relating to this topic. Plaintiff reserves the right to raise any that may arise at a later
    13 time.
    14               (b)    Defendants’ Position
    15         For the reasons stated herein, Defendants believe it is premature to determine
    16 whether there will be any issues relating to privilege or protection of materials that
    17 may arise in this action. Defendants reserve the right to raise any such issues at a
    18 later date.
    19         6.    What changes should be made in the limitations on discovery
    20               imposed under the Federal Rules of Civil Procedure or by Local
    21               Rules:
    22               (a)    Plaintiff’s Position
    23         Subject to Plaintiff’s discussion of discovery proceeding in two phases,
    24 Plaintiff does not propose any changes in limitations on discovery imposed under the
    25 Federal Rules of Civil Procedure of Local Rules.
    26               (b)    Defendants’ Position
    27         For the reasons stated herein, Defendants believe it is premature to determine
    28 whether any changes should be made in the limitation on discovery in this action, if
                                                -18-
                                       JOINT RULE 26(f) REPORT
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     1 any discovery will need to be conducted in this case at all. Defendants reserve the
     2 right to raise any such issues at a later date.
     3         7.    Any orders that should issue under Rule 26(c) or Rule 16(b) and (c):
     4               (a)    Plaintiff’s Position
     5         Plaintiff does not request that the Court issue any orders under Rules 26(c) or
     6 Rule 16(b) or (c).
     7               (b)    Defendants’ Position
     8         Defendants believe it is premature to determine whether any orders should
     9 issue under Rule 26(c) or Rule 16(b) and (c). Defendants reserve the right to raise
    10 such issues at a later date.
    11
    12 VII. EXPERT DISCOVERY
    13         A.    Plaintiff’s Position
    14         With respect to the FAA Section 4 jury trial, Plaintiff proposes that the initial
    15 expert disclosure be made on December 21, 2018 and rebuttal expert disclosures on
    16 January 4, 2019.
    17         To the extent the Court prefers to set expert disclosure deadlines on the trial on
    18 the merits at this time (instead of waiting for the conclusion of the FAA Section 4
    19 jury trial as suggested above), Plaintiff proposes that the deadlines be set based on a
    20 proposed trial date of June 18, 2019.
    21         B.    Defendants’ Position
    22         For the reasons stated herein, Defendants believe it is premature to set a
    23 schedule for expert discovery, if any discovery will need to be conducted in this case
    24 at all. Defendants reserve the right to propose a schedule for expert discovery at a
    25 later date.
    26
    27 VIII. TRIAL ESTIMATE
    28         Plaintiff estimates a three (3) day FAA Section 4 Jury Trial, inclusive of voir
                                                 -19-
                                        JOINT RULE 26(f) REPORT
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     1 dire, opening arguments, and closing arguments.
     2         Plaintiff estimates a five (5) day court trial on her declaratory relief claim, and
     3 a five (5) day jury trial on her defamation claim against Mr. Cohen.
     4         For the reasons stated herein, Defendants believe it is premature to estimate the
     5 length of any potential trial in this case.
     6
     7 IX.     TRIAL COUNSEL
     8         Trial counsel for Plaintiff will be Michael J. Avenatti, as lead counsel, and
     9 Ahmed Ibrahim.
    10         If any trial is necessary, lead trial counsel for EC and Mr. Cohen will be Brent
    11 H. Blakely.
    12         If any trial is necessary, lead trial counsel for Mr. Trump will be Charles J.
    13 Harder.
    14
    15 X.      SETTLEMENT
    16         Plaintiff has had limited informal discussions with counsel for EC and Mr.
    17 Cohen regarding the possibility of settlement. No such discussions have occurred
    18 between counsel for Plaintiff and Mr. Trump. The Parties are open to guidance from
    19 the Court regarding settlement.
    20
    21 XI.     MANUAL FOR COMPLEX LITIGATION
    22         A.    Plaintiff’s Position
    23         Plaintiff does not believe that this action need be designated as complex or that
    24 reference to the Manual for Complex Litigation is necessary.
    25         B.    Defendants’ Position
    26         For the reasons stated herein, Defendants believe it is premature to determine
    27 whether this action may need to be designated complex or that reference to the
    28 Manual for Complex Litigation may be necessary. Defendants reserve the right to
                                                 -20-
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     1 raise this issue at a later date.
     2
     3 XII. THE LIKELIHOOD OF THE APPEARANCE OF ADDITIONAL
     4         PARTIES
     5         The Parties do not believe that it is likely that additional parties will appear in
     6 this action.
     7
     8 XIII. DISPOSITIVE MOTIONS
     9         A.     Plaintiff’s Position
    10         Aside from the pending motions discussed above (see Section III), Plaintiff
    11 intends to file a Motion for Leave to File a Second Amended Complaint. The Motion
    12 will seek leave to amend to confirm that Plaintiff seeks to recover prevailing party
    13 attorneys’ fees pursuant to the Settlement Agreement, and may further clarify the
    14 basis of Plaintiff’s claim for declaratory relief.
    15         B.     Defendants’ Position
    16         Aside from the Pending Motions, for the reasons stated herein, Defendants
    17 believe it is premature to determine whether any additional motions, including
    18 dispositive motions, will be necessary. Defendants reserve the right to bring any
    19 additional motions they believe to be necessary.
    20
    21 XIV. PROPOSALS REGARDING SEVERING, BIFURCATION OR OTHER
    22         ORDERING OF PROOF
    23         A.     Plaintiff’s Position
    24         Other than Plaintiff’s position regarding proceeding first to the FAA Section 4
    25 Jury Trial discussed herein, Plaintiff does not have any further proposals for
    26 bifurcation or other ordering of proof.
    27         B.     Defendants’ Position
    28         For the reasons stated herein, Defendants believe it is premature to determine
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     1 whether there will be any issues related to severance, bifurcation, or ordering of
     2 proof. Defendants reserve the right to raise such issues at a later date.
     3
     4 XV. ELECTION OF ADR PROCEDURE
     5        A.       Plaintiff’s Position
     6        Plaintiff’s position is that Local Rule 16-15.4 ADR Procedure No. 3, namely a
     7 private dispute resolution proceeding, is the most appropriate option for this action.
     8        B.       Defendants’ Position
     9        For the reasons stated herein, Defendants believe it is premature to elect an
    10 ADR procedure. Defendants reserve the right to make such an election at a later date,
    11 if necessary.
    12 Dated: August 27, 2018                 AVENATTI & ASSOCIATES, APC
    13
                                              By: /s/ Michael J. Avenatti
    14                                            MICHAEL J. AVENATTI
    15                                           Attorneys for Plaintiff
                                                 STEPHANIE CLIFFORD
    16
    17
    18 Dated: August 27, 2018                 BLAKELY LAW GROUP
    19
    20                                        By: /s/ Brent H. Blakely
                                                  BRENT H. BLAKELY
    21
                                                 Attorneys for Defendants
    22                                           ESSENTIAL CONSULTANTS, LLC and
                                                 MICHAEL COHEN
    23
    24
         Dated: August 27, 2018               HARDER LLP
    25
    26                                        By: /s/ Charles J. Harder
                                                  CHARLES J. HARDER
    27                                           Attorneys for Defendant
    28                                           DONALD J. TRUMP

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     1        Pursuant to Local Rule 5-4.3.4, I Michael J. Avenatti, hereby attest that all
     2 other signatories to this Joint Report, and on whose behalf it is submitted, concur in
     3 its content and have authorized its filing.
     4 Dated: August 27, 2018                                      /s/ Michael J. Avenatti
                                                                   MICHAEL J. AVENATTI
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